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                                     MINUTES



  CASE NUMBER:           CIVIL NO. 10-00040DAE-LEK
  CASE NAME:             Philippe De La Couture, et al. Vs. United States of America


  ATTYS FOR PLA:         L. Richard Fried, Jr.
                         John D. Thomas, Jr
  ATTYS FOR DEFT:        Harry Yee
  INTERPRETER:


        JUDGE:     Leslie E. Kobayashi           REPORTER:      Courtroom 7-No
                                                                Record

        DATE:      04/19/2010                    TIME:          9:04-9:08


 COURT ACTION: EP: Rule 16 Scheduling Conference held.

 1.     Non-jury trial on January 4, 2011 at 9:00 a.m. before DAE
 2.     Final Pretrial Conference on November 23, 2010 at 9:00 a.m. before LEK
 3.     Final Pretrial Conference before District Judge N/A
 4.     Final Pretrial Statement by November 16, 2010
 5.     File motions to Join/Add Parties/Amend Pleadings by June 4, 2010
 6.     File other Non-Dispositive Motions by October 6, 2010
 7.     File Dispositive Motions by August 4, 2010
 8a.    File Motions in Limine by December 14, 2010
 8b.    File opposition memo to a Motion in Limine by December 21, 2010
 11a.   Plaintiff’s Expert Witness Disclosures by July 5, 2010
 11b.   Defendant’s Expert Witness Disclosures by August 4, 2010
 12.    Discovery deadline November 5, 2010
 13.    Settlement Conference set for August 11, 2010 at 02:00 PM before LEK
 14.    Settlement Conference statements by August 4, 2010
 20.    Submit Voir Dire Questions, Special Verdict Form, Concise Statement of Case and
        Jury Instructions by N/A
 21.    File Final witness list by December 14, 2010
 24.    Exchange Exhibit and Demonstrative aids by December 7, 2010
 25.    Stipulations re: Authenticity/Admissibility of Proposed Exhibits by December 14,
        2010
 26.    File objections to the Exhibits by December 21, 2010
 28a.   File Deposition Excerpt Designations by December 14, 2010
Case 1:10-cv-00040-DAE-LK Document 13 Filed 04/19/10 Page 2 of 2          PageID #: 63
 28b.   File Deposition Counter Designations and Objections by December 21, 2010
 29.    File Trial Brief by December 21, 2010
 30.    File Findings of Fact & Conclusions of Law by December 21, 2010

 Other Matters: Rule 16 Scheduling Order to be issued.


 Submitted by: Warren N. Nakamura, Courtroom Manager




 CIVIL NO. 10-00040DAE-LEK;
 Philippe De La Couture, et al. Vs. United States of America;
 Rule 16 Scheduling Conference Minutes
 04/19/2010
